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        Century of Progress Productions, Christopher Guest,
   9    Rob Reiner Productions, United Heathen, Spinal Tap Productions,
  10    Harry Shearer, Rob Reiner, and Michael McKean

  11
  12                       UNITED STATES DISTRICT COURT
  13                      CENTRAL DISTRICT OF CALIFORNIA
  14
  15    CENTURY OF PROGRESS                       Case No. 2:16-cv-07733 DMG (AS)
        PRODUCTIONS; CHRISTOPHER                  [Assigned to The Honorable Dolly M.
  16    GUEST; ROB REINER                         Gee, Department 8C/350 W. 1st Street]
        PRODUCTIONS; UNITED
  17    HEATHEN; SPINAL TAP
  18    PRODUCTIONS; HARRY SHEARER;               JOINT STATUS REPORT
        ROB REINER; and MICHAEL
  19    MCKEAN,
  20                      Plaintiffs,
                                                  Case Filed: October 17, 2016
  21    vs.
  22
  23    VIVENDI S.A.; STUDIOCANAL;
        RON HALPERN, an individual,
  24    UNIVERSAL MUSIC GROUP INC.;
  25    UMG RECORDINGS, INC., and DOES
        1 through10, inclusive,
  26
                          Defendants.
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                                        JOINT STATUS REPORT
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   1          Pursuant to this Court’s Minute Order of August 10, 2020, Plaintiffs Century
   2    of Progress Productions, Christopher Guest, Rob Reiner Productions, United
   3    Heathen, Spinal Tap Productions, Harry Shearer, Rob Reiner, and Michael
   4    McKean (“Plaintiffs”), and Defendants Vivendi S.A., Studiocanal S.A.S., and Ron
   5    Halpern (“Defendants”), by and through their respective undersigned counsel,
   6    hereby submit this further Joint Status Report.
   7          1.     Over the past several months, the parties have participated in a
   8    mediation before Magistrate Judge Louise A. LaMothe.
   9          2.     As noted in the parties' prior Status Reports, the settlement discussions
  10    have been impacted and have taken additional time as a result of the global
  11    COVID-19 pandemic and issues with Studiocanal’s insurance carrier.
  12          3.     On September 17, 2020, the parties reached agreement on the terms of
  13    a settlement. As a result, the parties will need to prepare and negotiate a long-form
  14    settlement agreement and related documentation. Because the settlement involves,
  15    among other things, somewhat complicated issues concerning the details and
  16    logistics of settlement, including restructuring the parties' relationship and
  17    modifying contracts pertaining to the picture’s distribution, the parties anticipate
  18    that it may require some additional time to complete the settlement documentation
  19    and file a request for dismissal.
  20          4.    The parties jointly propose updating the Court with a further joint status
  21    report in mid-October 2020.
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                                       JOINT STATUS REPORT
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   1    DATED: September 18, 2020                      RUSS, AUGUST & KABAT
   2
   3
                                                   By: /s/ Bennett A. Bigman
   4                                                   Bennett A. Bigman
   5                                                   Stanton L. Stein
                                                       Irene Y. Lee
   6                                                   Attorneys for Plaintiffs
   7                                                   Century of Progress Productions,
                                                       Christopher Guest, Rob Reiner
   8                                                   Productions, United Heathen, Spinal
   9                                                   Tap Productions, Harry Shearer,
                                                       Rob Reiner, and Michael McKean
  10
  11    DATED: September 18, 2020                      QUINN EMANUEL URQUHART &
                                                       SULLIVAN, LLP
  12
  13
                                                   By: /s/ Robert M. Schwartz
  14                                                   Robert M. Schwartz
  15                                                   Daniel C. Posner
                                                       Zachary A. Schenkkan
  16                                                   Attorneys for Defendants Vivendi
  17                                                   S.A., StudioCanal S.A.S., and Ron
                                                       Halpern
  18
        Pursuant to Local Rule 5-4.3.4, the filer of this document attests that all of the
  19
        signatories listed, and on whose behalf the filing is submitted, concur in the filing’s
  20
        content and have authorized the filing.
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                                       JOINT STATUS REPORT
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   1                              CERTIFICATE OF SERVICE
   2          I hereby certify that on September 18, 2020, I electronically filed a true and
   3   correct copy of the foregoing JOINT STATUS REPORT through the Court’s
   4   CM/ECF system, which will send a Notice of Electronic Filing (“NEF”) to all
   5   interested parties in the action through their counsel of record, who have consented
   6   to electronic service, as follows:
   7
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  16
  17
  18                                           /s/ Stanton L. Stein
  19                                                       Stanton L. Stein

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                                       JOINT STATUS REPORT
